Case 1:16-cr-20355-CMA Document 7 Entered on FLSD Docket 10/02/2017 Page 1 of 5




                             UNITED STATES DISTRICT CO URT
                             SOU TH ERN DISTR IC T O F FLO RIDA

                             CASE NO .16-20355-CR-ALTONAGA(s)
                                        21U.S.C.5963
                                        21U.S.C.5853            '



                                                                         FILED BY           TB
    UNITED STATES O F AM ERICA                                                                   :*.4î
                                                                                                     .'
                                                                                                      .,;*'K



    VS.
                                                                          Sep 29,2017
                                                                         STEVEN M .LAR1M OItE
                                                                         fLERKU.S.Dl5TRlfT ET.
    JO EL ARM A NDO G ALEAS RO DR IG UEZ,                                &.D.OFFtA.MIAMI
          a/k/a téloelUIIoa,''

                         Defendant.
                                           /

                                 SU PE RSEDING IN DICTM ENT

          The Grand Jury chargesthat:

          Beginning at leastas early as in and around 2007,the exact date being unknown to the

    Grand Jury,and continuing through on or aboutthe date ofthis Superseding lndictm ent, in the

    countries ofH onduras,Guatem ala,Colom bia,Venezuela,Panam a,and M exico,and elsewhere,

    the defendant,

                           JO EL A RM AND O G ALEA S R O DR IG UEZ,
                                       a/k/a ûtloelUIIoa,''

    did know ingly and willfully com bine,conspire,confederate,and agree w ith others known and

    unknown to theGrand Jury,to distributea controlled substance in Schedule II,intending,knowing

    and having reasonable cause to believe that such controlled substance would be unlaw fully

   importedintotheUnitedStates,inviolationofTitle2l,UnitedStatesCode,Section959(a)'
                                                                                  ,a11in
   violation ofTitle 21,United StatesCode,Section 963.

          W itb respectto JO EL A RM AN DO G ALEA S RO D RIG UEZ,the controlled substance

    involved in the conspiracy attdbutable to him as a resultofhis own conduct,and the conductof
Case 1:16-cr-20355-CMA Document 7 Entered on FLSD Docket 10/02/2017 Page 2 of 5



                           U NITED STATE S D ISTR ICT CO UR T
                           SO UTH ER N D ISTR ICT O F FL O R ID A

                          CASE NO .16-20355-CR-ALTONAGA(s)
                                       21U.S.C.@963
                                       21U.S.C.ï853

 U N ITED STATE S O F AM E RIC A

 VS.

 JO EL AR M A ND O G ALE AS R O D RIG U EZ,
       a/k/a éçloelU lloar''

                      Defendant.
                                         /

                               SUPE RSED IN G IN DIC TM EN T

        The Grand Jury charges that:

        Beginning atleastas early as in and around 2007,the exact date being unknow n to the

 Grand Jury,and continuing through on or aboutthe date of this Superseding lndictm ent,in the

 countries ofH onduras,Guatem ala,Colom bia,V enezuela,Panam a, and M exico,and elsew here,

 the defendant,

                        JO EL A RM AN D O G A L EA S R O D RIG UEZ,
                                    a/k/a ççloelUlloa,M

 did know ingly and w illfully com bine,conspire,confederate,and agree w ith others know n and

 unknowntotheGrand Jury,todistributeacontrolledsubstancein Schedulel1,intending,knowing

 and having reasonable cause to believe that such controlled substance would be unlawfully

 importedintotheUnitedStates,inviolationofTitle21,United StatesCode,Section 959(a),
                                                                                  'allin
 violation ofTitle 21,United States Code,Section 963.

        W ith respectto JO E L A R M A ND O G A LEA S R O D R IG U EZ,the controlled substance

 involved in the conspiracy attributable to him as a resultofhis ow n condud ,and the conductof
Case 1:16-cr-20355-CMA Document 7 Entered on FLSD Docket 10/02/2017 Page 3 of 5



 otherconspiratorsreasonablyforeseeabletohim,isfive(5)kilogramsormoreofamixtureand
 substance containing a detectable am ountofcocaine,in violation ofTitle 21,U nited States Code,

 Sedions963and960(b)(1)(B).
                         CR IM INA L FO R FEITUR E A LLEG A TIO N S

        1.     The allegationsin thisSuperseding lndictm entare re-alleged and by thisreference

 fully incorporated herein forthe purpose ofalleging forfeiture to the United States ofA m erica of

 certain property in which the defendant,JO EL A RM AN D O G A LEA S R O D RIG U EZ , has an

 interest.

               U pon conviction of a violation of Title 21,U nited States Code,Section 963,as

 alleged in thisSuperseding Indidm ent,the defendantshallforfeitto the U nited States ofA m erica,

 pursuanttoTitle21,UnitedStatesCode,Sections853(a)(1)and(a)(2),anypropertyconstituting,
 orderived from ,any proceedsobtained,directly orindirectly,asa resultofsuch violation, and any

 property used or intended to be used, in any m anner or part,to com m it or to facilitate the

 com m ission ofsuch violation.

        A llpursuantto Title 21,U nited StatesCode,Section 853.


                                                     A TRUQ BILL
                                                                                        î
                                                   jFOREP RSON

   ( iiA.t-é
 BEN JAM IN G .G REE BERG
                            cjm
 A CTW G U N ITED    TES ATTO RN EY

               %

 W A TER M .N ORK IN
 A SSISTA N T UN ITED STA TES ATTO RN EY
                           UNITED STATES DISTRICT COURT
  Case 1:16-cr-20355-CMA Document 7 DI
                           SOUTHERN  Entered
                                      STRICTon
                                             OFFLSD  Docket 10/02/2017 Page 4 of 5
                                                FLORIDA

UNITED STATES O F AM ERICA                         CASE NO. 16-20355-CR-AItonaga(s)
VS.

                                              CERTIFICATE OF TRIAL ATTO RNEY*
JOEL ARMANDO GALEAS RODRIGUEZ,

       Defendant.
                                      I       Superseding Case Inform ation:


CourtDivision:(SelectOne)                     New Defendantts)
                                              N                                                No x
                                               um berofNew Defendants
 X F
   Mi
    TaLmi               w
                        KeIBWest      FTp     Totalnumberofcounts                    N

       Ido herebycerti
                     fy that:
               Ihave carefullyconsidered the all
                                               egations ofthe indictment,the numberofdefendants,the num ber
               ofprobable witnesses and the Iegalcom plexitiesofthe Indictment/lnformation attached hereto.
      2.       Iam awarethatth: informationsuppliedoqthisjtqtemeqtwillbe relied upon bytheJudgesofthis
               Courtin setting thelrcal:ndars and schedullng crlmlnaltrlals underthe mandate ofthe SpeedyTrial
               Act,Title 28 U.S.C.Sectlon 3161.
      3.       Iqterpreter:     (YesqrNo)      Yes
               LIstIanguage and/ordlalect      panlsh
               Thiscase willtake      6-10    daysforthe parties to try.
               Please check appropriate category and type ofoffense Iisted below:
               (Checkonl
                       yone)                                 (Checkonl
                                                                     yone)
               0 to 5 days                                            pytty
               6 to 10 days                    X                      M lnor
               11to 20 days                                           Misdem .
               21to 60 days                                           Felony
               61days and over
      6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)              YES
      Ifyes:
      Judge:      Altonjna                              Case No.               16 CR 20355
      (Attachcopy9fdl
                    spositivegrdeq)
      Ha
      If sacomplalntbeenfiled Inthlsmatter?           (YesorNo)         No
      M yej:
        aglstrate Case No.
      Related Miscjllaneous numbers:
      Defendantts)lnfederalcustodyasof
      D
        efendantts)lnstateçustodyasof
      Rule 20 from the Distrl
                            ctof
      Isthisa potentialdeathpenaltycase?(YesorNo)               No

               D?es this case originate from a m atterpending in the Northern Region ofthe U.S.Attorney's Offi
                                                                                                             ce
               prlorto O ctober14,2003?              Yes          X   No
               Dges this case originate from a matterpending in the CentralRegion ofthe U.S.Attorney's Offi
                                                                                                          ce
               prlorto Septem ber1,2007?              Yes         K No
                                                                ...




                                                                           <

                                                     W ALTE NO R KIN
                                                     ASSISTANT UNITED STA      ATTORNEY
                                                     Flori
                                                         da BarNo./courtNo.A5502189
*penal
     tySheetts)attached                                                                               REV
                                                                                                      4/8/08
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                           U N ITED STATE S D ISTR ICT C O U R T
                           SO U TH ER N D ISTR ICT O F FL O R ID A

                                      PENA LTY SH EE T

 Defendant's N am e: JO EL A RM AN D O G A LEA S R O D RIG U EZ

 CaseNo: 16-20355-CR-ALTONAGA(s)
 Count#:l

 Conspiracy to distribute m ore than tive kilogram sofcocaine know ing itw ould be im ported into

 the United States

 Title 2 1,U nited StatesCode,Section 963

 *M ax.Penalty:       Life lm prisonm ent

 Count#:2




 *M ax.Penalty:

 Count#:3




 *M ax.Penalty:

 *Refers only to possibleterm ofincarceration,doesnotinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
